
On Application for Rehearing.
En Banc. November 20, 1963.
PER CURIAM.
It is ordered that a rehearing be, and the same is hereby granted, limited to the question of the third party demand against Supreme Services, Inc., Simon Domingue, Lester P. Domingue and Gerald I. Hebert, *362but otherwise the application for rehearing is denied.
Argument is particularly requested as to whether the third party demand is before this Court.
On Motion for Dismissal
En Ranc. January 14, 1964.
PER CURIAM.
On joint motion of defendant and third party defendants and upon their representation that all issues have been compromised, the defendant’s application for rehearing is dismissed, and the order granting it is annulled.
